                Case:
ILND 450 (Rev. 10/13)    3:21-cv-50341
                      Judgment in a Civil Action   Document #: 42 Filed: 12/06/21 Page 1 of 1 PageID #:447

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

McHenry County and Kankakee County,

Plaintiff(s),
                                                                    Case No. 21 C 50341
v.                                                                  Judge Philip G. Reinhard

Kwame Raoul,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Kwame Raoul
                    and against plaintiff(s) McHenry County and Kankakee County.
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Philip G. Reinhard on a motion to dismiss.



Date: 12/6/2021
                                                                 Thomas G. Bruton, Clerk of Court
                                                                 /S/ Susan Bennehoff, Deputy Clerk
